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ATTACHMENT A
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AGREEMENT

BETWEEN
ARAMARK EDUCATIONAL SERVICES LLC
AT DREXEL UNIVERSITY

3210 CHESTNUT STREET
PHILADELPHIA, PA 19014

AND

TEAMSTERS UNION LOCAL NO. 115
AFFILIATED WITH THE INTERNATIONAL BROTHERHOOD OF TEAMSTERS

FROM: — September 01, 2019 TO; August 31, 2022
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This Agreement is entered into as of the 1* day of September, 2019, between Aramark Educational Services
LLC at Drexel University, 3210 Chestnut Street, Philadelphia PA 19014 (hereinafter referred to as the
“Company” or the “Employer”) and the Teamsters Union Local No. 115 of Philadelphia, Pennsylvania,
affiliated with the International Brotherhood of Teamsters (hereinafter referred to as the “Union”).

WHEREAS, the parties hereto desire to establish the standards and hours of labor, rates of pay, and other
conditions under which the employees classified herein shall work for the Employer during the life of this
Agreement and thereby promote a relationship between the parties hereto providing for more harmonious
cooperation and mutual benefit.

NOW, THEREFORE, in consideration of the performance in good faith by both parties, individually and
collectively, of the terms and conditions of this Agreement, and intending to be legally bound thereby, the
parties agree to and with each other as follows:

ARTICLE I - RECOGNITION

1.1 The Employer recognizes the Union as the exclusive collective bargaining representative with respect to
wages, hours, and working conditions of all Cafeteria Department, Retail Department and Catering Department
employees employed by Aramark Educational Services LLC at Drexel University, headquartered at 3210
Chestnut Street, Philadelphia, Pennsylvania; but excluding all other employees, including office clerical
employees, janitorial employees (other than those directly employed by the cafeteria, retail or catering
departments), casual employees, students, manager trainees, guards, and supervisors as defined in the Act.

ARTICLE 2 - UNION SECURITY AND CHECK-OFF

2.1 It shall be a condition of employment that all employees of the Employer covered by this Agreement
who are members of the Union in good standing, and those who are not members on the effective date of this
Agreement, shall, on the thirtieth (30) calendar day following the effective date of this Agreement, become
and remain members in good standing of the Union. It shall also be a condition of employment that all
employees covered by this Agreement and hired on or after its effective date, shall, on the thirtieth (30%)
calendar day following the beginning of such employment, become and remain members in good standing of
the Union. Good standing shall require only the payment of the initiation fee and monthly periodic dues
uniformly required as a condition of retaining membership.

2.2. ‘The failure of any person to become a member of the Union at the required time shall obligate the
Employer, upon fourteen (14) calendar days written notice from the Union to such effect and to the further
effect that Union membership was available to such person on the same terms and conditions generally
available to other members, to forthwith discharge such person.

Further, the failure of any person to maintain his/her Union membership in good standing as required herein,
upon fourteen (14) calendar days written notice to the Employer by the Union to such effect, obligate the
Company to discharge such person. The Union agrees to indemnify the Employer from any action arising as a
result of the Employer complying with this Article.
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2.3 Subject to existing law, the Employer may, when in need of employees, first notify the Union of the
opening and the Union shall supply the necessary personnel if available. If the Company notifies the Union and
the Union is unable to supply employees within two (2) working days after a request is received, the Employer
shall have the right to hire new employees from any source.

2.4 Dues and Initiation Fee: it is understood and agreed between the Employer and the Union that the
Employer will deduct any back unpaid union dues and initiation fees owed the Union (provided such
indebtedness for dues or initiation fees was incurred during employment with the Employer) as well as current
monthly dues and initiation fees, from the paycheck of all employees who have signed proper legal
authorization for such deductions and who are covered by the Agreement, on the last pay day of the month
preceding the current month for which current union dues and initiation fees are due the Union. The Employer
further agrees to remit to the Secretary-Treasurer of the Union, by the 15" day of the following month, all
Union dues and initiation fees so deducted from the paychecks of employees covered by this Agreement. The
Union agrees to indemnify and hold harmless the Employer from any action arising from compliance with the
terms of this Article.

2.5 Teamsters Union Local No. 118 Political Action Fund: Upon receipt of written authorization for
deductions from wages signed by the employee, the Employer agrees to deduct from the wages of employees
their contributions to the Teamsters Union Local No. 115 Political Action Fund and Social Fund, or such
similar organizations as may be requested by the Union. The Employer will make deductions on a bi-weekly
basis and will forward the amounts deducted to the Teamsters Union Local No. 115 Political and Social Fund,
10965 Decatur Road, Philadelphia, Pennsylvania 19154, by the 15" day of the folllowing month. No such
authorization shall be recognized if it is in violation of state or federal law. No deduction shall be made if it is
prohibited by applicable law.

ARTICLE 3 - NON DISCRIMINATION

3.1 No employee or applicant for employment covered by this Agreement shall be discriminated against
because of membership in the Union or activities on behalf of the Union.

3.2. Neither the Employer, Employees or the Union shall discriminate against any employees because of the
employee’s race, color, religion, sex, sexual orientation, age, national origin, disability, veteran status or any
other personal characteristic that is protected by applicable law.

ARTICLE 4 - EMPLOYEE DEFINITIONS

4.1 Full-time employees shall be defined as employees who are regularly scheduled to work thirty (30)
hours or more per week. Full-time employees working less than forty (40) hours per week shall be given
preference in work opportunities over casual employees in their job classification unless otherwise provided in
the Agreement.

4.2 There will be no less than thirty-seven (37) employees who will be guaranteed forty (40) hours work per
week. Effective September 1, 2018 there will be no less than forty (40) employees who will be guaranteed forty
(40) hours per week. These guarantees are not applicable during the summer break period or during break
periods during the academic year provided that there is a reduction of hours of operation in or temporary closure
of certain operations.
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43 Part-time employees shall be defined as employees who are regularly scheduled to work more than
twenty (20) hours per week but less than thirty (30) hours per week. Part-time employees working less than
thirty (30) hours per week shall be given preference in work opportunities over casual employees in their job
classification unless otherwise provided in the Agreement.

4.4. “Casual employees” shall be defined as employees who are scheduled to work on an as needed, non-
regular basis. Casual employees working less than twenty (20) hours per week are not covered by this
Agreement. The use of casual employees shall not erode the bargaining unit.

4.5 New employees shall be hired on a probationary status for a period of sixty (60) calendar days and may
be discharged during said period with or without cause. If an employee is discharged during his/her
probationary period the Union will not file a grievance.

ARTICLE 5 - MANAGEMENT RIGHTS

5.1 Management retains its inherent right to manage the affairs of the business, including the right to direct
its business operations, direct the workforce, and establish the methods of operations and work schedules. It is
recognized that the well-being of both parties is directly dependent upon the skill and efficiency with which the
business of the Employer is conducted, and that any assumption of the functions of management by
representatives of the Union or any employees represented by it, is contrary to the intent and purpose of this
Agreement.

ARTICLE 6 - STEWARDS

6.1 The Employer recognizes the right of the Union to designate no more than five (5) shop stewards from
the seniority list. The authority of shop stewards so designated by the Union shall be limited to, and shall not
exceed, the following duties and activities:

A. The investigation and presentation of grievances with the Employer or the designated
representative in accordance with the provisions of the collective bargaining agreement.

B. The collection of dues when authorized by appropriate Union action.

Cc. The transmission of such messages and information which shall originate with, and are
authorized by the Union or its officers, provided such messages and information:

Gi) Have been reduced to writing, or

(ii) ‘If not reduced to writing, are of a routine nature and do not involve work stoppages, slow
downs, refusal to handle goods, or any other interference with Employer's business. Shop
Stewards have no authority to take strike action, or any other action interrupting the Employer's
business, except as authorized by official action of the Union, The Employer recognizes these
limitations upon the unauthorized acts. The Employer in so recognizing such limitations shall
have the authority to impose proper discipline, including discharge, in the event the Shop
Steward has taken unauthorized strike action, slow down or work stoppage in violation of the
Agreement.
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6.2 Stewards shall be permitted reasonable time to investigate, present and process grievances on Employer
property without loss of time or pay during his or her regular working hours, Such time spent in handling
grievances during the steward's regular working hours shall be considered working hours in computing daily
and/or weekly overtime if within the regular schedule of the steward, Stewards will request approval from their
supervisor or manager prior to leaving their regularly assigned duties before investigating, presenting and
processing grievances. Such requests will not be unreasonably denied.

ARTICLE 7 - VISTTATION RIGHTS

7A An authorized representative of the Union will make reasonable attempts to notify the General Manager
or authorized designee, by phone or by email, in advance of arriving on the Employer’s or client’s premises, the
Union accredited representative will notify the General Manager or authorized designee, in person, of his/her
presence prior to speaking to any employee. It is agreed that Union duties and activities will not be carried on
during hours of work, except as provided for in this Agreement. Following the Client’s security regulations,
Union officials shall have the right to enter the premises to satisfy themselves that this Agreement is being
observed, and shall notify the employer representative of their intent to do so. The Union representatives will
not disrupt the work force.

7.2 | The Union, Business Agent or their representatives shall have the right to examine time sheets and other
records pertaining to the computation of compensation of fringe benefits of any individual whose pay is in
dispute. Such examination will not take place during rush hours when serving lines are open.

ARTICLE 8 - BULLETIN BOARDS

8.1 The Employer agrees to provide a bulletin board at each Cafeteria, Retail and Catering unit operated by
Aramark Education Services LLC at Drexel University for the purpose of posting Union notices concerning
matters directly affecting the employees of the Employer.

ARTICLE 9 - GRIEVANCE PROCEDURE

9.1 A grievance shall be defined as any dispute arising out of the expressed terms or conditions contained
within this Agreement.

9.2 _ All grievances on behalf of employees will be submitted in writing on forms provided by the Union. All
grievances shall state the Article violated and proposed remedy.

9.3 All grievances between the Employer and the Union or the Employees and the Employer shall be
processed in the following manner:

Step |: The Union Steward may raise any grievance, within fourteen (14) calendar days of the
action or knowledge of the subject of the grievance, with the Unit Manager in an attempt to reach a
satisfactory agreement. Any grievance not submitted within fourteen (14) calendar days of the action or
knowledge of the subject of the grievance shall be denied. The Unit Manager shall meet with the
Steward and grievant and provide a written response to the grievance with a copy to the Union Business
Agent within seven (7) days of receiving the grievance. The Steward may submit the grievance to Step 2
if the Unit Manager fails to meet and provide a written response to the grievance within seven (7)
calendar days of receiving the grievance.
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Step 2: If a satisfactory solution cannot be reached in Step 1, the Steward may refer the matter to
the Union Business Agent and the Union Business Agent may submit the grievance to the Resident
District Manager, or his/her designee within seven (7) calendar days of the Step I response or the due
date of the Step | response and a meeting shall be scheduled. The scheduling of such meeting shall not
be unreasonably delayed. The Resident District Manager, or his/her designee, shall render a written
decision to the grievance to the Union Business Agent within seven (7) calendar days of the conclusion
of the Step 2 meeting. The Union Business Agent may submit the grievance to Step 3 if the Resident
District Manager, or his/her designee, fails to provide a written response to the grievance within seven
(7) calendar days of meeting to resolve the grievance or within seven (7) calendar days if the Union
deems the Step 2 response not satisfactory. If the Union submits a Step 3 appeal to arbitration when
there has been no timely response to the Step 2 appeal, the Employer agrees that the filing fee with the
AAA will be split on a 50-50 basis.

Step 3: If a satisfactory solution cannot be reached in Step 2, the Union may submit the matter to
an arbitrator to be selected pursuant to the procedures of the American Arbitration Association (AAA).
The arbitrators on the list shail be members of the Nationa! Academy of Arbitrators, The decision of the
arbitrator shall be final and binding upon the Employer and Union. It is understood that the Arbitrator
shall have the power to modify penalties in disciplinary cases, but shall not have the ability or power to,
in any way, modify, change, restrict or extend any terms of the Agreement. The arbitrator may be called
upon to interpret the CBA.

9.4 Grievances concerning disciplinary suspensions or terminations may be submitted directly to Step 2.

9.5 Time limits may only be extended by mutual agreement at any step of the grievance procedure.

ARTICLE 10 - NO STRIKE, NO LOCKOUT AND PRIMARY PICKET LINE

10.1 No Strikes or Other Interference: The Union agrees that there will be no strikes (general or sympathetic
or otherwise), walkouts, stoppages of work, sit-downs or slowdowns.

10.2. Lockouts: The Employer agrees not to conduct a lockout during the life of this Agreement.

10.3. Union’s Best Efforts: The Union agrees that, in the event of any violation of Section | of this Article,
the Union will use its best efforts to cause such violation to cease and to cause work to fully resume.

10.4 Remedies: The Employer may impose any disciplinary action, including discharge, upon any or all
employees involved in a violation of Section | of this Article. Any discipline under this Article shall be subject
to the grievance and arbitration procedures of this Agreement, but only as to the question of whether or not the
employee engaged in the activity.

10.5 Primary Picket Line: \t shall not be a violation of this Agreement, and it shall not be cause for discharge
or disciplinary action in the event an employee refuses to enter upon any property involved in a primary labor
dispute, or refuses to go through or work behind any primary picket line including the primary picket line of
Union's party to this Agreement, and including primary picket lines at the Employer's places of business.

10.6 The Union and Employer shall meet and attempt to provide for reasonable accommodations for work to
resume should the Employer’s place of business be impacted by a primary picket line or primary labor dispute
affecting operations.

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10.7 In the event of a refusal to cross a picket line under Article 10.5 of the CBA the Union understands that
honoring Article 10.5 may constitute a bona fide emergency under Article 11.

ARTICLE 11 - BARGAINING UNIT WORK
11.1. No Supervisor or other non-union personnel shall perform the duties done ordinarily by employees in
the bargaining unit except for purposes of instruction, short peak periods which shall not be used to erode the
bargaining unit, training and bona fide emergencies.
ARTICLE 12 - SENIORITY

12.1 In all cases of any increase or decrease of the working force and for promotion, the main factor to be
considered will be the length of continuous service with the Employer within the bargaining unit. In each
instance a determining factor shal! be ability and necessary qualifications to perform the particular job.

A. In the event two (2) or more employees are hired on the same day, seniority shall be first decided

by which employee clocked-in earliest. If the clock-in time cannot be determined, seniority shall be

decided by alphabetical order of the employee’s last name.

12.2. Where the Employer knows the date of layoff that the layoff shall exceed thirty (30) days, the laid off
employee shall be paid in full for all monies due him or her on the next scheduled pay day after the layoff date.

12.3. Anemployee’s seniority shall be terminated for the following reasons:

A. Quitting
B. Discharge for cause
Cc. If an employee who has been laid off fails to return to work within ten (10) work days after being

requested to do so by the Employer by Certified Letter to the employee's latest address appearing in the
Employer’s records with a copy to the Union Business Agent

D. Continued layoff for twelve (12) months

E. Absence due to physical disability for a period longer than six (6) months, provided that for
employees with more than two hundred fifty (250) days of active service, the period shall be one (1)
year

F, Failure to return from an approved leave of absence within ten (10) work days after being
requested to do so by the Employer by Certified Letter to the employee’s latest address appearing in the

Employer’s records with a copy to the Union Business Agent

G. Failure to notify management of absence for a period of three (3) consecutive days unless there
are extenuating circumstances

12.4 The Shop Stewards shall have super-seniority for the purpose of layoff and recall.
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12.5 There shall be one (1) seniority list for all bargaining unit employees in the Catering Department,
Cafeteria Department and Retail Department listing the full name and date of hire for each. There shall be one
seniority list for all employees in the Catering Department listing the full name and date of hire for each.

12.6 Layoffs - Employees shall be given at least five (5) days notice of layoff if possible.

12.7. The Employer shall submit a written seniority list as described in Article 12.5 to the Union Business
Agent by email! or fax with copies posted at each Cafeteria, Retail and Catering Department location by the 1%
calendar day of each month. Any objection to the seniority list shall be treated as a grievance.

12.8 With respect to personnel transactions, such as layoffs, transfers, shift scheduling, job postings, and
holidays, vacation and overtime work opportunities, the main factor to be considered will be length of
continuous service with the Employer within the bargaining unit. In each instance, a determining factor shall be
ability and necessary qualifications to perform the particular job. Whenever a vacancy occurs in a more
desirable job or shift, such vacancy shall be announced by the Employer in accordance with Article 37 — Job
Bid and Job Posting.

12.9 If a new employee is retained beyond his/her probationary period (sixty (60) calendar days), his/her
seniority shall accrue from his/her original date of hire.

12.10 Employees who previously worked for prior contractor(s) or Drexel University will date their seniority
from the earliest continuous date of employment in the bargaining unit at Drexel University.

ARTICLE 13 - SUBCONTRACTORS

13.1 The Employer will not subcontract jobs done by the bargaining unit unless no bargaining unit employee
is available, qualified and willing to do such work.

ARTICLE 14 - CLARIFICATION OF WORK

14.1 All cashiers will be given sufficient time at the beginning of the shift and at the end of the shift to
count the bank.

ARTICLE 15 - TEMPORARY ASSIGNMENT

15.1 An employee covered by this Agreement who is temporarily assigned to work in another classification
for more than one (1) hour, shall receive the rate of pay for the work he/she is required to do. If the rate of pay
is higher, he/she shall receive the higher rate. If an employee is asked to work at a lower classification and
his/her regular rate is higher, he/she shall receive the regular rate. If an employee is given an opportunity to
accept work in a lower classification at a lower rate of pay versus layoff, he/she shall receive the applicable rate
for work in the lower classification, and during such pericd he/she shall not lose his/her seniority status in
his/her original classification.
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ARTICLE 16 - WAGES

16.1 The following rate scale and classifications shall be utilized:

 

 

 

 

 

 

 

Food Service Worker $11.15 per hour
(Server, Food Prep, Utility, Receiver) uP

Cashier $11.15 per hour

Cook 1 $11.35 per hour

Cook Senior $13.50 per hour

Baker $16.00 per hour

Caterer $13.00 per hour

Barista $11.35 per hour

 

 

 

 

16.2 Effective September 01, 2019 all employees shall receive an increase of 3.0% per hour.
16.3 Effective September 01, 2020 all employees shall receive an increase of 3.0% per hour.
16.4 Effective September 01, 2021 all employees shall receive an increase of 3.25% per hour.

16.5 The workweek shall commence with and reflect the pay cycle of the Employer. The Employer will
provide the Union with thirty (30) calendar days’ notice in the event of changes to the pay cycle.

16.6 All employees will be paid electronically by direct deposit or pay card on a weekly basis and will
receive electronic pay statements. The transition from bi-weekly pay to weekly pay will be implemented as
soon as practicable after all employees are being paid electronically and are receiving electronic pay statements.

ARTICLE 17 - OVERTIME AND PREMIUM PAY

17.1 For all hours worked in excess of eight (8) in a day, an employee will be paid at one and one-half (1 4)
times the employee’s regular rate. For all hours worked in excess of forty (40) per week, an employee will be
paid at one and one-half (1 %) times the employee’s regular rate.

17.2 For all hours worked on the employee’s sixth (6) consecutive day of work, the employee shall be paid
at one and one-half (1 4) times the employees regular rate. For all hours worked on the employee’s seventh
(7'") consecutive day of work, the employee shall be paid at two (2) times the employee’s regular rate.

17.3. As part of the below process, a volunteer list will be established and maintained by the Employer for
assignment of extra hours when the need for extra hours occurs due to any unscheduled absence for a scheduled
shift. Each individual shall retain the right to decline the assignment.
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A. Distribution of Additional Hours:

When the Employer has a need for additional work (overtime or additional hours) on a particular
shift on a particular day the following process shall be utilized:

I. The hours shall be offered in seniority order to employees working in the affected
classification who have selected a permenant position at the location (e.g. Urban Eatery,
Northside Dining Terrace, Hans Dining Center, etc.) and are presently working at the location;
then

2, The hours shall be offered in seniority order to employees working in the affected
classification who have selected a permanent position at the location but are not presently
working at the location; then

3. The hours shall be offered in seniority order to the employees working in the affected
classification on the volunteer list, then in seniority order to other qualified employees on the
volunteer lst; then

4, The hours may be assigned to qualified Casual Employees.

5. Employees who volunteer for overtime or additional hours shall not have a regular shift
cancelled as a result of accepting overtime or additional hours unless at the employee’s request.

6. Management reserves the right to split additional hours. Employees must have the ability
and necessary qualifications to perform the particular job. In the event employees decline
additional hours, the Employer may in its discretion after Step 3 assign the work in inverse order
of seniority by classification to qualified employees.

7, Employees shall retain the right to decline the assignment of additional hours, unless the
Employer has assigned the additional hours by inverse seniority in accordance with paragraph 6,
above.

8. Employees, excluding those working in the Catering Department, shall be limited to a
total of fifty-two (52) hours worked per week unless mutually agreed upon by the Union and
Employer to exceed such limit.

ARTICLE 18 - REST PERIODS

18.1. As scheduled by the Employer there shall be one (1) fifteen (15) minute rest period for each four (4)
hours of the working day.

18.2 As scheduled by the Employer, there shall be one (1) thirty (30) minute unpaid lunch period for all
employees working more than five (5) hours per shift.
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ARTICLE 19 - HOLIDAYS

19.1 The following holidays or the days on which the holiday is observed by the Employer shall be
considered as a non-work day:

New Year’s Day Labor Day

Martin Luther King’s Birthday Thanksgiving (2 Days)

Memorial Day One-half (1/2) Day for Christmas Eve
Independence Day Christmas Day

19.2 For all hours worked on holidays, an employee will be paid at a rate of one and a half (1 '4) times the
rate for the job.

19.3. An employee whether or not scheduled to work on an observed holiday, shall receive his/her normal
straight-time pay for each observed holiday, provided the employee works the last day on which he/she was
regularly scheduled to work immediately prior to the observed holiday, and the first day on which he/she was
regularly scheduled to work immediately after the observed holiday or is in pay status (as sick leave or taken as
a vacation time) on each of these days.

19.4 Employees on layoff or leave of absence shall not be entitled to holiday pay, however, employees shall
receive Christmas Eve and Christmas Day holiday pay even if on Christmas layoff.

19.5 The employee's normal per day work schedule during the academic term when the majority of the
students are in full session will determine the number of hours paid for an employee's time off.
ARTICLE 26 —- PERSONAL HOLIDAYS

20.1 Each employee shall be eligible to receive six (6) personal holidays per year, after he/she completes one
(1) full year of service.

20.2 Employees must submit a written notice, on forms provided by the Employer, at least seven (7) calendar
days in advance of the date upon which and employee will utilize a personal holiday. The Employer shall
respond to requests for personal holidays no later than two (2) calendar days prior to the date of the personal
holiday requested. The Employer will not unreasonably deny an employee's request.

20.3. The employee's normal per day work schedule during the academic term when the majority of the
students are in full session will determine the number of hours paid for an employee's time off.

20.4 Up to two (2) unused personal holidays will be paid out at the end each school year.

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ARTICLE 21- VACATIONS

21.1 All employees covered by this Agreement shall be eligible for such vacation benefits as are hereinafter
set forth provided that such employees have met the following requirement of eligibility. June 1 of each
calendar year shall be the eligibility date for the determination of employee vacation entitlement. In those
instances, the vacation will be determined by the previous schedule. Catering staff will have vacation based on a
schedule of forty (40) hours per week.

A. An employee who has more than twelve (12) months but less than six (6) years of continuous
service as of the June | eligibility date entitles the employee to ten (10) days of paid vacation.

B. An employee who has more than six (6) years but less than fifteen (15) years of continuous
service as of the June | eligibility date, entitles the employee to fifteen (15) days of paid vacation.

Cc. An employee who has more than fifteen (15) years of continuous service as of the June 1
eligibility date, entities the employee to twenty (20) days of paid vacation.

D. Those employees who, as of September | 1, 1995 have over nineteen (19) years of service will be
“grand-fathered" for twenty-five (25) days of paid vacation.

E, Effective June Ist after completion of twenty-five (25) years of service, full time employees who
have not received a five (5) week vacation allotment will receive a one (1) time bonus payment of seven
hundred fifty dollars ($750.00).

F, Effective June Ist after completion of twenty-five (25) years of service, part time employees who
have not received a five (5) week vacation allotment will receive a one (1) time bonus payment of four
hundred doilars ($400.00).

21.2 The phrase, "continuous service" shall mean continuous service with the University or prior contractors
in accordance with Article 12.

21.3. The vacation period shall be June 15 to September 15. An employee may take all of his/her earned
vacation during the December academic break as scheduled by the University. Employees desiring to take
vacation during the December academic break will submit a written request at least twenty-one (21) days prior
to June 15. The Employer will not unreasonably deny said request.

21.4 Vacation scheduling shall be on a seniority basis within each work classification, with the most senior
employee first to receive his preference provided there is no overlapping.

21.5 Anemployee who quits shall be entitled to be paid for earned but unused vacation pay. Earned vacation
will be calculated from June 1* to the date of resignation.

21.6 Hf a holiday falls on a vacation, the employee shall receive pay for that holiday. The day shall be
considered a holiday, and the employee will receive another paid vacation day instead.

21.7 A day's paid vacation shall consist of employee's regularly scheduled daily hours at the employee's
straight-time hourly rate.

21.8 The employee's vacation pay shall be given to the employee in the employee's last paycheck prior to the
beginning of the employee's vacation, provided the employee has requested such at least two (2) weeks prior to

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the beginning of vacation. Those employees who pick a summer job through the job pick process will be
eligible to receive vacation pay when they go on vacation provided notice is given to the employer at the time of
summer job pick.

ARTICLE 22 - JURY DUTY

22.1 An employee covered by this Agreement who is called for jury duty in his/her own county or federal
court shall be granted time off from work to serve as a juror, and this time off from work to serve as a juror will
not be deducted from the employee's basic salary covering his/her regularly scheduled hours of work; however,
the employee will turn over to the Employer the compensation received from the court for such services. In the
event the check from the court is greater than the salary of the employee, the excess will be returned to the
employee. Upon first receiving summons for jury duty, the employee should present such summons to his/her
supervisor so that he/she, the supervisor, can make the necessary notations as to the reason for his/her absence.

ARTICLE 23 - LAYOFF AND LEAVE OF ABSENCE

23.1 An employee on layoff or leave of absence shall not be entitled to insurance benefits or any other
benefits conferred by this Agreement, unless otherwise specified herein. However, the employees will continue
insurance benefits during Christmas layoff, and the Employer will continue to pay its portion of the cost of this
benefit.

23.2 Any employee on layoff or leave of absence who is called to work shall preserve his/her original
seniority date for a period not to exceed one (1) year.

23.3. Personal Leaves: An employee may, upon written application to the Employer, and upon submission of
a reasonable reason to the Employer, be granted a leave of absence without pay for thirty (30) days. However,
the leave can be extended an additional thirty (30) days, by mutual agreement upon written application to the
Employer.

23.4 Leaves Due to Illness/Disability: Leaves of absence due to illness/disability may begin any time upon
authorization from the employee's attending physician for a period of up to six (6) months after which it can be
extended up to an additional six (6) months, for a total of 12 months, with medical documentation of inability to
perform their duties.

23.5 Military Leave: Any employee drafted or enlisted in the Armed Services of the United States shall be
guaranteed all the rights and privileges to which they are entitled under the law.

23.6 Family Medical Leave: The parties agree to comply with the terms of the Family and Medical Leave Act
of 1993 in the administration of the collective bargaining agreement, and no benefits or terms of the Agreement
will be reduced by complying with the terms of the Family and Medical Leave Act.

23.7 Any leave of absence granted under the CBA will run concurrently with any statutory leave including but
not limited to FMLA and ADA.

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ARTICLE 24 - FUNERAL LEAVE

24.1 After the completion of the probationary period employees shall be granted a leave of absence without
loss of pay of not more than three (3) days in the case of the death of a mother, father, son, daughter, spouse,
legal marital partner, sister, brother, grandparents, grandchilden, mother-in-law, or father-in-law of the
employee for the purpose of making arrangements and for attending the funeral.

24.2 If the funeral takes place out of town, the employee, upon request shall be granted an unpaid leave of
absence for two (2) additional days to attend said funeral.

ARTICLE 25 - SICK LEAVE

25.1 Unused sick leave will be paid out at the end of each school year, or upon resignation or termination for
any reason except just cause. Further, if an employee resigns or is terminated for any reason prior to the end of
the sick year, the Employer shall deduct the pro-rata portion of any sick leave used but not yet earned from the
employee's last paycheck.

25.2 The Employer's present sick leave program is as follows: Sick pay for employees normally scheduled to
work less than eight (8) hours per work day will be adjusted pro-rata to the number of hours per work day the
employee is normally scheduled to work.

A, All non-probationary employees shall be entitled to six (6) sick days per year with pay. The sick
leave year shall be September | to August 31.

B, Future hires shall be entitled to a pro rata sick leave determined on the basis of the employee's
date of hire upon completion of the probationary period. Sick days shall be pro-rated from September 1
through August 31 as follows:

 

Month Hired Sick Leave Month Hired Sick Leave
September 5.5 March 2.5
October 5.0 April 2.0
November 4.5 May 1.5
December 4.0 June 1.0
January 3.5 July 0.5
February 3.0 August 0.0
Cc, New hires are not eligible to take sick leave until after completion of the sixty (60) calendar day

probationary period.

25.3 To receive sick pay, the Employer may require an employee to furnish written proof from a medical
doctor after absences of three (3) or more consecutive days.

25.4 To receive sick pay, the employee must notify his/her supervisor or a member of the management staff
at least two (2) hours before his/her scheduled reporting time, unless the employee is scheduled to report on or
before eight (8) o'clock a.m., for which he/she must notify his/her supervisor or a member of the management
staff at least one (1) hour before his/her reporting time.

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26.1

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ARTICLE 26 - RETIREMENT

Effective September 1, 2019 the employer shall contribute the following to the Teamsters Union Local

No. 115 Pension Fund for all employees who receive compensation for a minimum of thirty-two (32) hours per

week:

26.2

A. Effective September 1, 2019 the employer shall contribute $72.67 per week, per non-
probationary employee to the Teamsters Union Local No. 115 Pension Fund.

B. Effective January 1, 2020 the employer shall contribute $78.05 per week, per non-probationary
employee to the Teamsters Union Local No. 115 Pension Fund.

on Effective January 1, 2021 the employer shal! contribute $83.82 per week, per non-probationary
employee to the Teamsters Union Local No. 115 Pension Fund.

D. Effective January 1, 2022 the employer shall contribute $90.03 per week, per non-probationary
employee to the Teamsters Union Local No. 115 Pension Fund.

Effective September 1, 2619 the employer shall contribute the following to the Teamsters Union Local

No. 115 Pension Fund for all employees who receive compensation for a minimum of twenty (20) hours per
week and no more than thirty-two (32) hours per week:

A. Effective September 1, 2019 the employer shail contribute $44.99 per week, per non-
probationary employee to the Teamsters Union Local No. 115 Pension Fund.

B. Effective January 1, 2020 the employer shall contribute $48.32 per week, per non-probationary
employee to the Teamsters Union Local No. 115 Pension Fund.

C. Effective January 1, 2021 the employer shall contribute $51.89 per week, per non-probationary
employee to the Teamsters Union Local No. 115 Pension Fund.

Dd. Effective January |, 2022 the employer shall contribute $55.74 per week, per non-probationary
employee to the Teamsters Union Local No. 115 Pension Fund.

Contributions

A. These sums shall be remitted on or before the fifteenth (15") day of each month for the
preceding month to the Teamsters Union Local No. 115 Pension fund, 10965 Decatur Road,
Philadelphia, Pennsylvania 19154.

B. Such monthly payments shall be made to the Fund no later than the time herein specified. If the
Employer fails to make payments to the Fund as required in the paragraph immediately above, the
Employer shall be liable for and obligated to pay any late fees due and shall be liable for all
contributions accrued and unpaid.

Cc. The Trustees of the Fund shall have the right to require the Employer to make available to the
Trustees, or their duly accredited representatives, all time cards, payroll records, Social Security records,
Withholding Tax records, and state or municipal wage and income tax records for any or all employees
covered by this Agreement.

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D. By the execution of this Agreement, the Employer agrees to execute the appropriate Trust
Agreements necessary to the establishment and administration of the Fund, and also appoints and
authorizes the Employer Trustees of the Fund to enter into appropriate Trust Agreements necessary for
the administration of such Fund. The employer further designates the Employer Trustees of the Fund as
its representatives and Trustees, and waives all notice and ratifies all actions already taken by the
Trustees of the said Fund within the scope of their authority.

ARTICLE 27 - MEAL ALLOWANCE

27.1 As scheduled by the Employer, all employees will receive one meal per working day, that meal being
lunch if the employee is an early starter or dinner in the afternoon if the employee is a late starter. The meal
may be selected from the regular cafeteria customer menu of the day.

ARTICLE 28 - SANITARY CONDITIONS

28.1. The Employer shall maintain sanitary conditions, including adequate lockers, toilets, and washing
facilities. Both parties shall comply with all applicable regulations of the City, State, and Federal Departments
of Health.

ARTICLE 29 - NOTICE OF CONTRACT TERMINATION

29.1 This Agreement shall be binding upon the parties hereto, their successors, administrators, executors and
assigns during its term. The Employer agrees to give the Union notice within thirty (30) days of the termination
of its contract with Drexel University by either party for the operation of the cafeteria unit. It is understood by
this Article that the parties hereto shall not use any leasing device to a third party to evade this Agreement.

If the Employer shall sell or otherwise dispose of substantially all of its machinery and equipment, and the
purchaser or person, firm, or corporation which receives the same shall use such or similar machinery and
equipment or substantially the same employees, then such purchaser or possessor shall be bound by the terms
hereto and the employees shall be covered by the Agreement

ARTICLE 30 - HEALTH AND WELFARE AND LIFE INSURANCE
30.1 Effective September 1, 2019 and throughout the life of this Agreement, the Employer shall participate in
the Teamsters Union Local No. 115 Health & Welfare Fund to provide Health Insurance, Dental Insurance,
Vision Insurance and Prescription Insurance as follows:
A. Minimum Annual Benefit Participation

1. Effective September 1, 2019 no less than one-hundred (100) employees shall participate.

2. Effective January 1, 2020 no less than one-hundred five (105) employees shall
participate.

3. Effective September 1, 2020 no less than one-hundred ten (110) employees shall
participate.

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Eligibility

1. Effective September 1, 2019 employees shall be eligible, subject to 29.1 A above, for
Health Insurance, Dental Insurance, Vision Insurance and Prescription Insurance benefits as
follows:

A, All employees covered as of August 31, 2019.
B. Seniority.
2. The benefit eligibility period shall be September | through August 31 of each year.

3, Health Insurance, Dental Insurance, Vision Insurance and Prescription Insurance benefits
shall be provided to eligible employees for the duration of the benefit period unless an employee
quits or is terminated.

A. The Employer shall continue Health Insurance, Dental Insurance, Vision
Insurance and Prescription Insurance benefits for ninety (90) days for any employee who
is laid off due to reduction in force, takes approved leave of absence or suffers an on-the-
job injury.

Contributions

l. Effective September 1, 2019 the Employer shall contribute $235.00 per week, per
employee to the Teamsters Union Local No. 115 Health & Welfare Fund.

2. Effective January 1, 2020 the Employer shall contribute $240.29 per week, per employee
the Teamsters Union Local No. 115 Health & Welfare Fund.

3. Effective January 1, 2021 the Employer shall contribute $245.69 per week, per employee
to the Teamsters Union Local No. 115 Health & Welfare Fund.

A. These sums shall be remitted on or before the fifteenth (15") day of each month
for the preceding month to the Teamsters Union Local No. 115 Health and Welfare Fund,
10965 Decatur Road, Philadelphia, Pennsylvania 19154.

B. Such monthly payments shall be made to the Fund no later than the time herein
specified. If the Employer fails to make payments to the Fund as required in the
paragraph immediately above, the Employer shall be liable for and obligated to pay any
late fees due and shall be liable for all contributions accrued and unpaid.

Cc. The Trustees of the Fund shall have the right to require the Employer to make
available to the Trustees, or their duly accredited representatives, all time cards, payroll
records, Social Security records, Withholding Tax records, and state or municipal wage
and income tax records for any or all employees covered by this Agreement.

D. By the execution of this Agreement, the Employer agrees to execute the
appropriate Trust Agreements necessary to the establishment and administration of the
Fund, and also appoints and authorizes the Employer Trustees of the Fund to enter into

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appropriate Trust Agreements necessary for the administration of such Fund. The
employer further designates the Employer Trustees of the Fund as its representatives and
Trustees, and waives all notice and ratifies all actions already taken by the Trustees of the
said Fund within the scope of their authority.

30.2 Short Term Disability: The Employer will provide a weekly benefit of One Hundred Seventy Dollars
($170.00) for non-occupational illnesses or accidents to all eligible employees who have completed the
probationary period effective the month following completion of the probationary period. Benefits are payable
on the first day of absence for an accident and eighth (8th) day of absence for illness. The benefit period for any
single absence is a maximum of thirteen (13) weeks. An employee who is entitled to paid sick leave as set forth
in the contract shall not be entitled to the weekly disability benefit for any week or portion thereof that the
employee is entitled to receive paid sick leave or would not have been working.

30.3. The Employer shall pay the premium for eligible employees who have completed the probationary
period effective the month following completion of the probationary period for Ten Thousand Dollars
($10,000.00) life insurance, plus double indemnity.

30.4 The parties agree that if any employees not covered by Article 29.1 above are entitled to benefit
coverage under the terms of the ACA the Company will offer them a medical plan which is compliant with the
terms of the ACA.

A. These employees would not be entitled to simultaneously participate in medical benefits under
Article 29.1.

B. The waiting period for benefits would be the first of the month following completion of sixty
(60) days of employment.

Cc. Aramark will provide eligible employees the opportunity to enroll in Medical benefits provided
through an Aramark sponsored carried.

1. The plan(s), plan design(s) and schedule(s) of benefits may be adjusted from time to time
in line with the changes in the medical benefits package for all Aramark employees or as
required by law. Other changes might include a change in the insurer, health maintenance
organization, or other service provider that provides the benefits or establishes the network of
participating providers. Any changes to premiums or eligibility will be effective with the start of
the plan year, January 1°.

2. Employee contributions for benefits will be at the standard Aramark rates and are subject

to change from time to time in accordance with changes made for all Aramark employees or as
required by law.

ARTICLE 31 - SCHOLARSHIP AND LEGAL FUNDS
31.1 Scholarship Fund: Effective September 1, 2019 the Employer shall contribute twenty-five cents ($0.25)

per week, per non-probationary employee to the Teamsters Union Local No. 115 Scholarship Fund (hereinafter
referred to as the "Fund").

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A. These sums shall be remitted on or before the fifteenth (15") day of each month for the
preceding month to the Teamsters Union Local No. 115 Scholarship Fund, 10965 Decatur Road,
Philadelphia, Pennsylvania, 19154.

B. Such monthly payments shall be made to the Fund no later than the time herein specified. If the
Employer fails to make payments to the Fund as required in the paragraph immediately above, the
Employer shall be liable for and obligated to pay any late fees due and shall be liable for all
contributions accrued and unpaid.

C. The Trustees of the Fund shall have the right to require the Employer covered by this Agreement
to make available to the Trustees or their duly accredited representatives, all time cards, payroll records,
Social Security records, Withholding Tax records, and state or municipal wage and income tax records
for any or all employees covered by this Agreement.

D. By execution of this Agreement, the Employer agrees to execute the appropriate Trust
Agreements necessary to the establishment and administration of the Fund, and also appoints and
authorizes the Employer Trustees of the Fund to enter into appropriate Trust Agreements necessary for
the administration of such Fund. The Employer further designated the Employer Trustees of the Fund as
its representatives and Trustees, and waives all notice and ratifies all actions already taken or to be taken
by the Trustees of the said Fund within the scope of their authority.

31.2 Legal Fund: Effective September 1, 2019 the Employer shall to contribute seven dollars ($7.00) per
week, per non-probationary employee to the Teamsters Union Local No. 115 Legal Fund (hereinafter referred
to as "Fund").

A. These sums shall be remitted on or before the fifteenth (15) day of each month for the
preceding month to the Teamsters Union Local No. 115 Legal Fund, 10965 Decatur Road, Philadelphia,
Pennsylvania, 19154.

B. Such monthly payments shal! be made to the Fund no later than the time herein specified. If the
Employer fails to make payments to the Fund as required in the paragraph immediately above, the
Employer shall be liable for and obligated to pay any late fees due and shall be liable for all
contributions accrued and unpaid.

Cc. The Trustees of the Fund shall have the right to require the Employer covered by this Agreement
to make available to the Trustees, or their duly accredited representatives, all time cards, payroll records,
Social Security records, Withholding Tax records, and state or municipal wage and income tax records
for any or all employees covered by this Agreement.

Dz. By the execution of this Agreement the Employer agrees to execute the appropriate Trust
Agreements necessary to the establishment and administration of the Fund, and also appoints and
authorizes the Employer Trustees of the Fund to enter into appropriate Trust Agreements necessary for
the administration of such Fund. The Employer further designates the Employer Trustees of the Fund as
its representatives and Trustees and waives all notice and ratifies all actions already taken or to be taken
by the Trustees of the said Fund within the scope of their authority.

E. Notwithstanding anything herein contained, it is agreed that in the event the Employer is
delinquent in the payment of his contributions to the Health and Welfare, Pension, Legal and/or
Scholarship Funds, under this Agreement, in accordance with the rules and regulations of the Trustees of
such Funds, after the proper official of the Union has given seventy-two (72) hours’ notice to the

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Employer of such delinquency in Health and Welfare, Pension, Legal and/or Scholarship Funds, the
employees or their representative shall have the right to take such legal or economic action as may be
necessary until such delinquent payments are made; and it is further agreed that in the event such action
is taken, the Employer shall be responsible to the Union and, through the Union, the employees for costs
or losses resulting therefrom.

31.3. Payment for new employees will commence for the Legal and Scholarship funds the week following
completion, as an active member of the collective bargaining unit of the Teamsters Union Local No. 115, for
one hundred eighty (180) days. Effective September 1, 2018, payment will commence the week following
completion as an active member of the collective bargaining unit of the Teamsters Union Local No, 115 for
ninety (90) days.

ARTICLE 32 - MAINTENANCE OF STANDARDS

32.1 The Employer agrees that all conditions of employment relating to wages, hours of work, overtime
differentials, bonuses, fringe benefits, and general working conditions shall be maintained at not less than the
highest standards in effect at the time of the signing of this Agreement, or its effective date, whichever is
earlier, and the conditions of employment shall be improved whenever specific provisions for improvement
are made elsewhere in the Agreement.

32.2 The Employer agrees not to enter into any other agreement or contract, written or oral, with his
employees, individually or collectively, which in any way conflicts with the terms and provisions of this
Agreement.

ARTICLE 33 - DISCIPLINE AND DISCHARGE
33.1 Disciplinary action shall be issued for just cause only.

33.2 Discipline shall be handled in a professional manner.

33.3 The Employer shall issue disciplinary action no later than seven (7) calendar days after learning of the
citcumstances on which the discipline is based.

A. The Union shall grant the Employer extensions of this timeline after written request inclusive of
a justifiable business reason for an extension of this period.

B. The Union shall not unreasonably deny such request for extension.

33.4 All disciplinary action shall be provided in writing and issued to an Employee with a Steward present
(unless the employee does not wish one to be present).

A. If the employee indicates that he/she wishes a steward to be present, and one is not available, the
meeting shall be temporarily postponed unless it involves a suspension or termination in which
Investigatory Leave shall be utilized.

33.5 The Union Business Agent shall be provided copies of all disciplinary action, via fax or e-mail, no later
than forty-eight (48) hours after such disciplinary action has been issued.

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33.6 Discipline shall not remain in effect for a period of more than twelve (12) months from the date of said

notice.

33.7. Any employee may request that the Union investigate his/her discharge, suspension, or warning notice.

33.8 The Employer shall utilize progressive discipline as follows:

A.

B.

C.

D.

First Written Warning
Second Written Warning
Final Written Warning and 3-Day Suspension Without Pay

Termination

33.9 Progressive disciplinary action as outlined in Article 32.8 shall not be applicable and employees will be
subject to immediate suspension or immediate discharge if the cause of such disciplinary action is:

A.

B.

Gross insubordination
Theft of Company or Client funds or property

Use, possession, sale or being under the influence while on duty (inclusive of lunch break and
rest periods) of alcohol or illegal drugs

Possession of firearms or illegal weapons while on duty (inclusive of lunch break and rest
periods)

Threats of physical violence or Physical violence excluding self-defense
Deliberate damage or damage through gross negligence to Employer or Client property
Harassment

Unauthorized use of Company or client property, confidential information, personnel records,
tools or equipment

Sleeping during working hours
Providing a false excuse related to timekeeping, paid or unpaid time off or leave of absence

and/or falsification or unauthorized alteration of any employment related documents including
but not limited to employment applications, personnel records and time records

The parties agree that the above list is not exhaustive and other infractions of similarly serious nature
may lead to immediate suspension or immediate discharge in accordance with Article 32.1.

33.10 Prior to suspending or discharging an employee the Company will attempt to advise the Union Business
Agent by email or phone call of the impending disciplinary action.

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33.11 Investigatory Leave: The Employer shall utilize Investigatory Leave to conduct investigations into
matters or events which may cause an employee to be immediately suspended or discharged in accordance with
Article 32.8.

A. Ali employees placed on Investigatory Leave shall be compensated their regular daily hours until
such Investigatory Leave is complete and discipline is issued or the employee is returned to regular duty
without loss of time.

B. All employees placed on Investigatory Leave shall be notified in accordance with Article 33.3
and Article 33.4.

C. Investigatory Leave shall not exceed leave of thirty (30) calendar days without written consent of
the Union.

33.12 Upon discharge, the Employer shall pay all money due to the employee within the next normal payroll
cycle,

33.13 If an employee is placed on investigatory leave as provided for in this Article, the Employer shall
continue to make the required contribution for Health and Welfare, Pension, Legal Services and Scholarship
Benefits.

33.14 Reasonable rules and regulations with respect to disciplinary action or procedures may be drafted by the
Employer provided they do not conflict with any provision of the Agreement and are approved in writing by the
Union to which such approval will not be unreasonably denied.

A. Such rules and regulations and/or changes thereto shall be sent to the Union at least thirty (30)
days in advance and the Employer, upon request, will meet with the Union Business Agent and Union
Steward(s) to discuss and receive input regarding the modifications thereto.

ARTICLE 34 - DRUG & ALCOHOL TESTING POLICY

34.1 The Employer and the Union recognize that they must endeavor to provide safe and efficient operations
for the protection and benefit of the general public, and the Employer’s guests and employees. As part of its
efforts to achieve this goal, the Employer must require that its work be performed by employees who are not
under the influence of illegal drugs or alcohol at work. For purposes of this Agreement, the term “drugs” shail
include drugs and alcohol, as appropriate.

34.2 The parties agree that the Union will be provided advance notice of changes in the Company’s Drug
Free Workplace Act policy and procedures for testing in accordance with Article 33.14. The Parties agree drug
testing will be for resonable suspicion or workplace injury or accident in accordance with the Occupational
Health and Safety Act. The Employer shall not conduct random drug testing unless required to do so by law or
where the parties agree it is appropriate.

A. A blood alcohol level of 0.04% or higher shall constitute a confirmed positive.

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ARTICLE 35 - SEPARABILITY AND SAVINGS

35.1 If any Article or Section of this Agreement or of any Supplements or Riders thereto should be held
invalid by operation of law or by any tribunal of competent jurisdiction, or if compliance with or enforcement
of any Article or Section should be restrained by such tribunal pending a final determination as to its validity,
the remainder of this Agreement and of any Supplements or Riders thereto, or the application of such Article or
Section to persons or circumstances other than those as to which it has been held invalid or as to which
compliance with or enforcement of has been restrained, shall not be affected thereby.

35.2 In the event that any Article or Section is held invalid or enforcement of or compliance with which has
been restrained, as above set forth, the parties affected thereby shall enter into immediate collective bargaining
negotiations, upon the request of the Union, for the purpose of arriving at a mutually satisfactory replacement
for such Article or Section during the period of invalidity or restraint. If the parties cannot agree on the
replacement language within sixty (60) days after beginning of the period of invalidity or restraint, either party
shall be permitted all legal recourse in support of its demands notwithstanding any provision in this agreement
to the contrary.

ARTICLE 36 - GENERAL CLAUSES

36.1. The Employer shall furnish work uniforms to each employee when needed, and the employees will be
responsible for cleaning/washing such uniforms as well as being responsible for any lost or stolen uniforms.

A. The Company will provide rain gear jackets and pants to Catering employees. Catering
employees will be financially responsible for the loss or damage to the provided rain gear.

36.2 Any employees working overtime will not be given time off to offset the overtime work.

36.3. Where new classifications for which rates of pay are not established by this Agreement are put into use
within operations covered by this Agreement, rates governing such operations shall] be subject to negotiations
between the parties.

36.4 Rates agreed upon shall be effective as of the date classification is put into use.

36.5 There will be no split-shifts without prior agreement with the Union.

36.6 The Employer will give all employees seven (7) days advance notice of changes in shift hours.

36.7 Effective for the third (3) academic quarter job bid in the Spring of 2020, employees shall have all
regularly scheduled days off (“RDOs”) in consecutive order during the work week of their permanent schedule.

36.8 Employees may participate in any pre-tax commuter benefit program offered by Aramark on the same
terms and conditions as provided by Aramark to non-bargaining unit employees. The program enables
employees to pay for their work-related public transportation and/or parking expenses through pre-tax payroll
deductions. The program may be unilaterally modified or eliminated at the Employer’s discretion, and such
modification or elimination will not be subject to bargaining. The Employer will provide the Union with
advance notice if the program will be modified or eliminated.

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ARTICLE 37 - WORKERS COMPENSATION TEMPORARY TRANSITIONAL DUTY PROGRAM

37.1 In order to facilitate the return to work of an employee who has suffered an on-the-job injury or illness,
the Company may implement a Temporary Transitional Duty program, to provide a temporary, modified work
assignment until the employee reaches Maximum Medical Improvement, but in no case longer than ninety (90)
calendar days.

37.2 Prior to offering a Temporary Transitional Duty assignment to an employee, the Company will give the
Union three (3) business days’ notice of the proposed position and modifications. If the Union objects to the
assignment for good cause, the Company will delay implementation of the proposed assignment for up to five
(5) additional business days, during which time the parties will meet (in person or by telephone) to review and
attempt to resolve the Union’s objections. If the parties are unable to agree, the Company may proceed with the
implementation of the assignment and the Union may pursue the matter through the grievance and arbitration
procedure.

37.3. No employee shall be disciplined for rejecting a Temporary Transitional Duty assignment. However,
the rejection may have an impact on the employee’s entitlement to workers’ compensation benefits, depending
on the applicable state workers’ compensation law.

37.4 Nothing herein shall be deemed to require the Company to offer a Temporary Transitional Duty
assignment to any employee. No Temporary Transitional Duty assignment may be extended beyond ninety (90)
days. No Temporary Transitional Duty assignment may become permanent without the express written consent
of the parties.

37.5 Nothing herein shall be construed to add to or diminish the obligations of the parties under the
Americans with Disabilities Act and/or state or local law relating to accommodation of disabilities.
ARTICLE 38 - JOB BID AND JOB POSTING

38.1 The Union and Employer agree to conduct the posting, bidding, awarding and fulfilling of all job
openings utilizing the attached job posting templates for temporary positions and permanent positions.

A. Temporary positions shall not include unscheduled call-outs or any absences that are less than
fourteen (14) calendar days.

B. The Company shall offer non-posted temporary work in accordance with Article 17.3.

38.2 Prior to the commencement of the regular academic term in September of each year the Employer shail
conduct the Job Bid.

A. All employees will be notified in writing by regular mail no later than twenty-one (21) calendar
days in advance of the date, time and location of the Job Bid in which all open bargaining unit positions
will be posted in a place viewable by all bargaining unit members for bidding.

B. At least fourteen (14) calendar days prior to the 3 and 4" academic quarters, the employer will
conduct a bargaining unit job bid. Jobs will be posted at all Employer locations for a period of seven (7)
calendar days. The job bid for the 4" academic term may be conducted as a posting rather than an
in-person bid due to the reduced number of schedules available.

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Cc. If positions remain open after the Job Bid:

lL. The position(s) shall be posted for a period of forty-eight (48) consecutive hours for
employees to bid on as an extended temporary position.

2. Such extended temporary positions shall be awarded based on qualifications, seniority,
and availability.

3. The positions shall be filled by employees to whom they are awarded for a period of sixty
(60) calendar days or until a new hire is retained by the Employer to fill the extended temporary
position.

4. Management reserves the right to split the positions into individual! daily shifts.

38.3. All open bargaining unit positions which occur throughout the fall, spring and summer academic terms
will be posted in a place viewable by all bargaining unit members for a period of five (5) consecutive calendar
days and for no less than one-hundred and twenty (120) consecutive hours. Temporary positions shall be posted
for a period of three (3) consecutive days. The Company will post the initial temporary vacancy not vacancies
arising therefrom.

38.4 AI! postings shall be signed by the department or unit manager responsible for posting such opening for
bidding. Any bargaining unit employee shall also sign the posting at the beginning and end of the posting period
as witnesses.

38.5 Bargaining unit employees wishing to bid on temporary or permanent openings must sign the job
posting before the conclusion of the posting period to be considered for the position.

38.6 In accordance with Article 12, the assigned manager shall award open positions to bargaining unit
employees who have signed the temporary or permanent posting utilizing length of continuous service with the
Employer as the main factor. In each instance a determining factor shall be ability and necessary qualifications
to perform the particular job.

38.7 In accordance with Article 36.6 the Employer shall provide notice and honor the job bid within seven (7)
calendar days from the conclusion of the job posting period.

38.8 In the event the Employer must operate under non-normal business hours (including but not limited to
holidays and special events) during the fail, spring and summer academic terms, the Employer shall post its
needs for bargaining unit employees in accordance with this Article.

38.9 During the annual and quarterly Job Bids Catering Department employees will be able to bid into the
Cafeteria Department or Retail Department without losing their seniority and vice versa.

38.10 When the total scheduled hours for the Cafeteria/Retail Department changes by five percent (5%) or
more, except for summer, a new schedule will be posted for bidding in accordance with Article 38 — Job Bid
and Job Posting.

38.11 The parties further agree that the Employer will endeavor, subject to the needs of the business, to

consider the seniority ranking of employees when making changes between scheduled bids. The parties further
agree that if it reduces a forty (40) hour per week position between scheduled bids, other than during the

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summer break period or during break periods during the academic year as provided for in Article 4.2, the
affected employee shall have the right to exercise their seniority.

ARTICLE 39 - RESPECT AND DIGNITY

39.1 The Employer and Union agree that each employee and supervisory representatives of the Employer
shall be treated with dignity and respect. Issues arising under 38.1 should be raised in a labor management
committee meeting in accordance with Article 39 of the Agreement, and in further communications to higher
levels of each organization as appropriate and necessary. The parties have agreed that this section shall not be
subject to the grievance and/or arbitration provisions of the Agreement.

39.2 Verbal abuse, threats, or harassment, including sexual harassment, by employees, managers or
supervisors towards each other will not be tolerated.

ARTICLE 40 - LABOR MANAGEMENT COMMITTEE

40.1 The Employer and Union agree that a Labor Management Committee, consisting of no more than three
(3) individuals from each party, shall meet at mutually agreeable times and places to apprise the other of
problems, concerns, and suggestions related to the operations and the work force with the aim of promoting a
better understanding and more cooperative and mutually beneficial relationship amongst the parties.

A. Such meetings shall not be construed as opening the Agreement for collective bargaining
negotiations nor shall any subject matter discussed at the meetings constitute a step in the grievance
procedure.

B. Employees participating in the Committee meetings shail be paid at their regular hourly rate for
time spent in such meetings.

ARTICLE 41 - HANDBOOK

40.1 The Union and the Employer understand the terms and provisions of the Company Handbook and
Location Guide will be applicable. In the event of a conflict between the Handbook and Location Guide the
terms of the Agreement shall prevail. Changes to the handbook are subject to Article 32.14 of the Agreement.

ARTICLE 42 - TERM

42.1 This Agreement shall be effective September 1, 2019 and shall! continue in full force and effect up to
and including August 31, 2022, and shall continue from year to year thereafter unless either of the parties hereto
shall give to the other sixty (60) days written notice prior to its original termination date or prior to the end of
any subsequent year of an intention to terminate the Agreement. Any and all changes in compensation and
benefits agreed to after the said termination date shall be retroactive to the day following such termination date,
unless otherwise agreed.

42.2 In the event of an inadvertent failure by either party to give the notice set forth in Section (1) of this
Article, such party may give such notice at any time prior to the termination or automatic renewal date of this
Agreement. If a notice is given in accordance with the provisions of this Section, the expiration date of this
Agreement shall be the sixty-first (61st) day following such notice

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IN WITNESS WHEREOF the parties hereto have duly executed this Agreement as of the 1* day of

September 2019.

ARAMARK EDUCATIONAL
SERVICES LLC:

 

Ariene Angelo
Director ~ Labor Relations

 

Kristina Coble
Resident District Manager

 

Megan Dawson
Human Resrouces Director

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TEAMSTERS UNION
LOCAL NO, 115:

 

Robert Freiling, Jr.
Business Agent

 

Shane Reiliy
Secretrary-Treasurer & Business Manager

 

Edward Askew
Steward Representative

 

Michael Brown
Steward Representative

 

Conley Munroe
Steward Representative

 

Michelle Pfiefer
Steward Representative

 

Eric Rogers
Steward Representative
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APPENDIX A —-— ATTENDANCE POLICY
It is the responsibility of every employee to report to work on time, unless otherwise approved by your manager.

All instances of unplanned absences, tardiness and/or leaving early (including those for which an employee
receives personal holiday, sick or vacation pay) will be recorded.

Failure to comply with these requirements may result in disciplinary action up to and including termination.
The four steps of progressive discipline shall be:

Verbal Warning

Written Warning

Final Written Warning

Termination
Unscheduled Absence Without Sick Leave, Unapproved Early Departure and Lateness:

1° unscheduled absence without sick leave, or

1* early depature without approval, or

3" jateness in a one-year rolling period will result in a verbal warning (first step of progressive
discipline)

Each further unscheduled absence without sick leave, or early depature without managerial approval, or lateness
will result in further discipline as set forth above.

Note: An employee will not be subject to discipline for any absence, tardiness, or early departure protected

under the FMLA, the ADA or other applicable law or contractual right, provided the employee complies with
the appropriate call out procedures.

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APPENDIX B ~ JOB POSTING TEMPLATES

TEMPORARY JOB POSTING
Drexel University Dining Services

 

 

 

 

JOB DETAILS

LOCATION: x START DATE: x
POSITION: x END DATE: Xx
CLASSIFICATION: X

REQUIREMENTS: xX

SCHEDULING INFORMATION

FRI Xx TUE: X

SAT: X WED: X

SUN: X THU: X

MON: X

HOURS PER WEEK (FT/PT): X

POSTING INFORMATION

POSTING PERIOD: X - X

POSTED: REMOVED:

DATE & TIME: DATE & TIME:
WITNESS: WITNESS:

 

 

UNION BIDS

 

 

 

 

 

 

 

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PERMANENT JOB POSTING
Drexel University Dining Services

 

JOB DETAILS

LOCATION: x START DATE: x
POSITION: x END DATE: xX
CLASSIFICATION: X
REQUIREMENTS: X

SCHEDULING INFORMATION

FRI:
SAT:
SUN:
MON:

TUE: X
WED: X
THU: X

Pe Pt Od PS

HOURS PER WEEK (FT/PT): X
POSTING INFORMATION
POSTING PERIOD: X - X

POSTED: REMOVED:

 

DATE & TIME: DATE & TIME:

WITNESS: WITNESS:

 

UNION BIDS

 

 

 

 

 

 

 

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LETTER OF UNDERSTANDING

 

Teamsters Union Local No. 115 (hereafter “Union”) and Aramark Educational Services LLC (hereafter
“Employer”) parties to a Collective Bargaining Agreement (hereafter “the CBA”) agree to the following letter
of understanding (hereafter “Agreement”), subject to ratification by the eligible members of the Union
bargaining unit:

Attendance Policy: Effective September 01, 2019, all occurrences, vebal warnings, first written warnings,
and final warnings (excluding “Last Chance Agreements”) for attendance issued only between September 01,
2018 and August 31, 2019 to employees who are actively in the bargaining unit as of September 01, 2019 shall
be considered void as a one-time “clean slate” to begin the school year.

Fair Workweek Ordiance: The Union and Employer have bargained regarding scheduling and have set forth
their negotiated scheduling provisions in the Collective Bargaining Agreement. The parties hereby agree that all
of the provisions of the Philadelphia Fair Workweek Ordinance (Bill No. 180694-A) are explicitly waived and
will not apply to the bargaining unit employees covered by the Agreement as long as this Agreement is in
effect.

Catering Department:

1. The parties understand that the business needs of the Catering Department vary greatly from those of the
Cafteria Department and Retail Department.

2. In recognition of this variance in operations, and notwithstanding the other provisions in the Collective
Bargaining Agreement, the parties agree to the following regarding schedules, additional hours, and overtime:

A, Catering Department schedules for bid may not comprise precise scheduled days or hours of
work but will include an estimated number of hours per week.

B. The Employer will make best efforts to honor the seniority ranking of Catering Department
employees when scheduling employees for early and daytime work in the Catering Department.

C. In the event Catering Department business needs cannot afford all Catering Department
employees their estimated number of weekly scheduled hours, the available weekly scheduled hours
shall be afforded by seniority, subject to the needs of the business.

D. In the event changes are necessary to the Catering Department schedules, the Employer shall
provide all Catering Department employees reasonable notife of schedule changes in poerson or via
telephone or other manner which the parties agree to.

l. Article 36.6 shall not apply to these changes

2. The Employer shall endeavor to provide as much notice as possible of changes.

E, In the event additional hours or overtime hours are needed to meet Catering Department business
needs, the Employer shall first seek to offer such hours to bargaining unit employees in the Catering

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Department by seniority. If Catering Department business needs are not met, the Employer shall have
the right to assign additional or overtime hours to Catering Department employees via inverse seniority
order. If such endeavors to assign additional hours or overtime hours to Catering Department employees
via seniority or inverse seniority do not provide the necessary astaff to meet Catering Department needs,
the Employer shall first offer such hours to qualified bargaining unit employees on the volunteer list
followed by casual employees. Employees must have the ability and necessary qualifications to perform

the particular job.

IN WITNESS WHEREOF the parties hereto have duly executed this Letter of Understanding as of the 1" day

of September 2019.

ARAMARK EDUCATIONAL
SERVICES LLC:

 

Arlene Angelo
Director — Labor Relations

 

Kristina Coble
Resident District Manager

 

Megan Dawson
Human Resrouces Director

31

TEAMSTERS UNION
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